                                Case
 Fill in this information to identify your 18-70319
                                           case:             Document 1 Filed in TXSB on 08/24/18 Page 1 of 81
 United States Bankruptcy Court for the:

                 Southern District of Texas

 Case number (If known):                         Chapter you are filing under:
                                                 ✔
                                                 ❑         Chapter 7
                                                 ❑         Chapter 11
                                                 ❑         Chapter 12
                                                 ❑         Chapter 13                                                                       ❑Check if this is an
                                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                           12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your         Pablo
       government-issued picture              First name                                                       First name
       identification (for example, your
       driver’s license or passport).
                                              Middle name                                                      Middle name
       Bring your picture identification to   Valle Jr
       your meeting with the trustee.         Last name                                                        Last name


                                              Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
                                              Paul
       in the last 8 years                    First name                                                       First name
       Include your married or maiden
       names.                                 Middle name                                                      Middle name
                                              Valle
                                              Last name                                                        Last name




                                              First name                                                       First name


                                              Middle name                                                      Middle name


                                              Last name                                                        Last name




  3.   Only the last 4 digits of your
                                              xxx - xx - 3        0       7   2                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                               OR
       Identification number                  9xx - xx -                                                       9xx - xx -
       (ITIN)




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 Debtor 1            Pablo   Case 18-70319 Document   1 Filed in TXSB on 08/24/18
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                                                                               Case number (if known)
                     First Name          Middle Name                  Last Name




                                         About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ✔I have not used any business names or EINs.
                                          ❑                                                                   ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing      Business name                                                       Business name
       business as names

                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          4117 N. 25th Lane Apt. 6
                                          Number             Street                                           Number            Street




                                          Mcallen, TX 78504
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                          Hidalgo
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




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 Debtor 1           Pablo   Case 18-70319 Document   1 Filed in TXSB on 08/24/18
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                                                                              Case number (if known)
                    First Name           Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                         ✔
                                         ❑     Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ❑     Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             Your Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY



                                         ✔
                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
 Debtor 1             Pablo   Case 18-70319 Document   1 Filed in TXSB on 08/24/18
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                                                                                Case number (if known)
                      First Name              Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑   Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                  City                                                       State        ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                             Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑   No.
  14. Do you own or have any
      property that poses or is               ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                        If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                      Where is the property?
      needs urgent repairs?
                                                                                    Number          Street




                                                                                      City                                               State               ZIP Code




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                                                                               Case number (if known)
                     First Name            Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                of realizing or making rational                                       of realizing or making rational
                                                                decisions about finances.                                             decisions about finances.
                                               ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                                be unable to participate in a briefing
                                                                  in person, by phone, or through the                                   in person, by phone, or through the
                                                                  internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                  to do so.                                                             to do so.
                                               ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 5
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                                                                               Case number (if known)
                     First Name             Middle Name                Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                  an individual primarily for a personal, family, or household purpose.”
      have?
                                                   ❑    No. Go to line 16b.

                                                   ✔
                                                   ❑    Yes. Go to line 17.

                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                 business or investment or through the operation of the business or investment.

                                                   ❑    No. Go to line 16c.

                                                   ❑    Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?       ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any        ✔
                                            ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                       expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                          ✔
                                                           ❑     No
      available for distribution to
      unsecured creditors?                                 ❑     Yes

                                             ✔
                                             ❑     1-49 ❑ 50-99                     ❑    1,000-5,000 ❑ 5,001-10,000              ❑     25,001-50,000 ❑ 50,000-100,000
  18. How many creditors do you              ❑     100-199 ❑ 200-999                ❑    10,001-25,000                           ❑     More than 100,000
      estimate that you owe?
                                             ✔
                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  19. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                             ❑                                       ❑                                               ❑
      your assets to be worth?
                                                   $100,001-$500,000                       $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

                                             ✔
                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  20. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                             ❑                                       ❑                                               ❑
      your liabilities to be?
                                                   $100,001-$500,000                       $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Pablo Valle Jr
                                         Pablo Valle Jr, Debtor 1
                                         Executed on 08/24/2018
                                                         MM/ DD/ YYYY




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
 Debtor 1            Pablo   Case 18-70319 Document   1 Filed in TXSB on 08/24/18
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                     First Name             Middle Name             Last Name



   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ Marcos D Oliva                                                    Date 08/24/2018
                                                 Marcos D Oliva, Attorney                                                    MM / DD / YYYY




                                                  Marcos D Oliva
                                                 Printed name

                                                  Marcos D. Oliva, PC
                                                 Firm name

                                                 223 W Nolana Ave
                                                 Number      Street

                                                  Marcos D. Oliva

                                                 Mcallen                                                             TX       78504-2500
                                                 City                                                                State    ZIP Code



                                                 Contact phone (956) 683-7800                                     Email address marcos@oliva.law


                                                 24056068                                                            TX
                                                 Bar number                                                          State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 7
                               Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 8 of 81
 Fill in this information to identify your case and this filing:

  Debtor 1                   Pablo                                      Valle Jr
                             First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                          Southern District of Texas
                                                                                                                                         ❑    Check if this is an
  Case number                                                                                                                                 amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                 12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
       ✔ No. Go to Part 2.
       ❑
       ❑ Yes. Where is the property?




Official Form 106A/B                                                               Schedule A/B: Property                                                     page 1
 Debtor 1                  Pablo    Case 18-70319 Document   1 Filed in TXSB on 08/24/18
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                                                                                      Case number (if known)
                           First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ✔ No
       ❑
       ❑ Yes

 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      ✔ No
      ❑
      ❑ Yes
 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................   ➜


 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                   Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.   Household goods and furnishings
      Examples:         Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               See Attached.
                                                                                                                                                                                     $185.00

 7.   Electronics
      Examples:         Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               computer, cell phone                                                                                                                  $110.00


 8.   Collectibles of value
      Examples:         Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      ✔ No
      ❑
      ❑ Yes. Describe........
 9.   Equipment for sports and hobbies
      Examples:         Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments
      ✔ No
      ❑
      ❑ Yes. Describe........
 10. Firearms
      Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
      ✔ No
      ❑
      ❑ Yes. Describe........




Official Form 106A/B                                                                                    Schedule A/B: Property                                                    page 2
 Debtor 1                     PabloCase               18-70319 Document
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                                                                                                     Case number (if known)
                              First Name                         Middle Name                             Last Name



 11.   Clothes
       Examples:           Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                     shirts, jeans/slacks, shoes, undergarments, a few caps, sweater, jacket, coat                                                                               $25.00



 12.   Jewelry
       Examples:           Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
       ✔ No
       ❑
       ❑ Yes. Describe........


 13.   Non-farm animals
       Examples:           Dogs, cats, birds, horses
       ✔ No
       ❑
       ❑ Yes. Describe........

 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                             $320.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                    Current value of the
                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                                 claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes.............................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                                                         Institution name:



                                                17.1. Checking account:                                   Wells Fargo xx1440                                                                                  ($325.00)


                                                17.2. Checking account:


                                                17.3. Savings account:




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                               page 3
 Debtor 1                 PabloCase        18-70319 Document
                                                          Valle1
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                                                                                          Case number (if known)
                          First Name               Middle Name              Last Name



                                       17.4. Savings account:


                                       17.5. Certificates of deposit:


                                       17.6. Other financial account:        PayPal                                                             $0.00


                                       17.7. Other financial account:


                                       17.8. Other financial account:


                                       17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others

       ❑ No
       ✔ Yes.....................
       ❑
                                                             Institution name or individual:

                                       Electric:              Reliant Energy                                                                  $100.00


                                       Security deposit on rental unit: Orchid Place Apartments                                               $250.00

 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................


Official Form 106A/B                                                                  Schedule A/B: Property                                page 4
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                                                                                         Case number (if known)
                          First Name              Middle Name            Last Name



 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....

 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....

 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.      Give specific information about
                   them, including whether you
                   already filed the returns and the
                   tax years.......................

 29.   Family support
       Examples:       Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.      Give specific information..........


 30.   Other amounts someone owes you
       Examples:       Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                       Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.      Give specific information..........


 31.   Interests in insurance policies
       Examples:       Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.      Name the insurance company
                   of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.      Give specific information..........




Official Form 106A/B                                                               Schedule A/B: Property                                          page 5
 Debtor 1                   PabloCase              18-70319 Document
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                                                                                                  Case number (if known)
                            First Name                       Middle Name                          Last Name



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:          Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.        Describe each claim................


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.        Describe each claim................


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........


 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜             $25.00



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.

 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.

 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............

 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                              $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜       $0.00


 56.   Part 2: Total vehicles, line 5                                                                                                $0.00


 57.   Part 3: Total personal and household items, line 15                                                                        $320.00


 58.   Part 4: Total financial assets, line 36                                                                                     $25.00




Official Form 106A/B                                                                                            Schedule A/B: Property                                                page 6
 Debtor 1                 PabloCase           18-70319 Document
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                                                                                             Case number (if known)
                          First Name                    Middle Name                     Last Name



 59.   Part 5: Total business-related property, line 45                                                                 $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                        $0.00


 61.   Part 7: Total other property not listed, line 54                                      +                          $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                $345.00          Copy personal property total➜    +   $345.00




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................          $345.00




Official Form 106A/B                                                                                 Schedule A/B: Property                                                 page 7
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 Debtor 1              Pablo                                  Valle Jr                            Case number (if known)
                       First Name       Middle Name            Last Name



                                                      SCHEDULE A/B: PROPERTY
                                                                 Continuation Page

 6. Household goods and furnishings
     Living room: couch, chair, rug                                                                                        $50.00
     Bedroom: bed                                                                                                          $50.00
     Kitchen: dishes/glassware, flatware, cookware, pots/pans, dinning room table, chair                                   $50.00
     misc. picture frames/family portraits and misc. personal effects                                                      $25.00
     a few pieces of wall art through out the apartment from the 99cent store                                              $10.00




Official Form 106A/B                                                     Schedule A/B: Property
                              Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 16 of 81
 Fill in this information to identify your case:

  Debtor 1                   Pablo                                     Valle Jr
                             First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                         Southern District of Texas

  Case number                                                                                                                          ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 Living room: couch, chair, rug                                                $50.00
                                                                                         ❑                   $50.00               11 U.S.C. § 522(d)(3)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:           6


                                                                                         ✔
 Brief description:
 Bedroom: bed                                                                  $50.00
                                                                                         ❑                   $50.00               11 U.S.C. § 522(d)(3)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:           6


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 3
                             Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 17 of 81
 Debtor 1             Pablo                                        Valle Jr                                           Case number (if known)
                      First Name           Middle Name              Last Name


 Part 2: Additional Page

 Brief description of the property and line on             Current value of the        Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from         Check only one box for each exemption.
                                                           Schedule A/B

                                                                                       ✔
 Brief description:
 Kitchen: dishes/glassware, flatware, cookware,                               $50.00
                                                                                       ❑                 $50.00                   11 U.S.C. § 522(d)(3)

 pots/pans, dinning room table, chair                                                  ❑   100% of fair market value, up to
                                                                                           any applicable statutory limit
 Line from
 Schedule A/B:          6


                                                                                       ✔
 Brief description:
 misc. picture frames/family portraits and misc.                              $25.00
                                                                                       ❑                 $25.00                   11 U.S.C. § 522(d)(3)

 personal effects                                                                      ❑   100% of fair market value, up to
                                                                                           any applicable statutory limit
 Line from
 Schedule A/B:          6


                                                                                       ✔
 Brief description:
 a few pieces of wall art through out the apartment from                      $10.00
                                                                                       ❑                 $10.00                   11 U.S.C. § 522(d)(3)

 the 99cent store                                                                      ❑   100% of fair market value, up to
                                                                                           any applicable statutory limit
 Line from
 Schedule A/B:          6


                                                                                       ✔
 Brief description:
 computer, cell phone                                                     $110.00
                                                                                       ❑                 $110.00                  11 U.S.C. § 522(d)(3)
                                                                                       ❑   100% of fair market value, up to
 Line from                                                                                 any applicable statutory limit
 Schedule A/B:          7


                                                                                       ✔
 Brief description:
 shirts, jeans/slacks, shoes, undergarments, a few                            $25.00
                                                                                       ❑                 $25.00                   11 U.S.C. § 522(d)(3)

 caps, sweater, jacket, coat                                                           ❑   100% of fair market value, up to
                                                                                           any applicable statutory limit
 Line from
 Schedule A/B:          11


                                                                                       ✔
 Brief description:
 Wells Fargo xx1440                                                      ($325.00)
                                                                                       ❑                  $0.00                   11 U.S.C. § 522(d)(5)

 Checking account                                                                      ❑   100% of fair market value, up to
                                                                                           any applicable statutory limit
 Line from
 Schedule A/B:          17


                                                                                       ✔
 Brief description:
 PayPal                                                                        $0.00
                                                                                       ❑                  $0.00                   11 U.S.C. § 522(d)(5)

 Other financial account                                                               ❑   100% of fair market value, up to
                                                                                           any applicable statutory limit
 Line from
 Schedule A/B:          17


                                                                                       ✔
 Brief description:
 Reliant Energy                                                           $100.00
                                                                                       ❑                 $100.00                  11 U.S.C. § 522(d)(5)

 Electric                                                                              ❑   100% of fair market value, up to
                                                                                           any applicable statutory limit
 Line from
 Schedule A/B:          22




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                     page 2 of 3
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 Debtor 1             Pablo                                     Valle Jr                                        Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B

                                                                                 ✔
 Brief description:
 Orchid Place Apartments                                               $250.00
                                                                                 ❑                 $250.00                  11 U.S.C. § 522(d)(5)

 Prepaid rent                                                                    ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        22




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                  page 3 of 3
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                                                                      COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                 MCALLEN DIVISION

IN RE:   Valle Jr, Pablo                                                           CASE NO

                                                                                   CHAPTER    Chapter 7

                                              SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                      Scheme Selected: Federal
                                                             Gross                    Total                    Total Amount   Total Amount
 No.     Category                                    Property Value           Encumbrances      Total Equity         Exempt    Non-Exempt
 1.      Real Estate                                           $0.00                  $0.00           $0.00           $0.00          $0.00
 3.       Motor vehicle                                        $0.00                  $0.00           $0.00           $0.00          $0.00
 4.      Watercraft, trailers, motors                          $0.00                  $0.00           $0.00           $0.00          $0.00
         homes, and accessories
 6.      Household goods and                                $185.00                   $0.00         $185.00         $185.00          $0.00
         furnishings
 7.      Electronics                                         $110.00                  $0.00         $110.00         $110.00          $0.00
 8.      Collectibles of value                                 $0.00                  $0.00           $0.00           $0.00          $0.00
 9.      Equipment for sports and hobbies                      $0.00                  $0.00           $0.00           $0.00          $0.00
 10.     Firearms                                              $0.00                  $0.00           $0.00           $0.00          $0.00
 11.     Clothes                                              $25.00                  $0.00          $25.00          $25.00          $0.00
 12.     Jewelry                                               $0.00                  $0.00           $0.00           $0.00          $0.00
 13.     Nonfarm animals                                       $0.00                  $0.00           $0.00           $0.00          $0.00
 14.     Other                                                 $0.00                  $0.00           $0.00           $0.00          $0.00
 16.     Cash                                                  $0.00                  $0.00           $0.00           $0.00          $0.00
 17.     Deposits of money                                     $0.00                  $0.00           $0.00           $0.00          $0.00
 18.     Bonds, mutual funds, or publicly                      $0.00                  $0.00           $0.00           $0.00          $0.00
         traded stocks
 19.     Nonpublicly traded stock                              $0.00                  $0.00           $0.00           $0.00          $0.00
 20.     Bonds and other financial                             $0.00                  $0.00           $0.00           $0.00          $0.00
         instruments
 21.     Retirement or pension accounts                        $0.00                  $0.00           $0.00           $0.00          $0.00
 22.     Security deposits and                              $350.00                   $0.00         $350.00         $350.00          $0.00
         prepayments
 23.     Annuities                                             $0.00                  $0.00           $0.00           $0.00          $0.00
 24.     Interest in a education fund                          $0.00                  $0.00           $0.00           $0.00          $0.00
 25.     Trusts, equitable or future                           $0.00                  $0.00           $0.00           $0.00          $0.00
         interests in property
 26.     Intellectual property                                 $0.00                  $0.00           $0.00           $0.00          $0.00
 27.     Other general intangibles                             $0.00                  $0.00           $0.00           $0.00          $0.00
 28.     Tax refunds                                           $0.00                  $0.00           $0.00           $0.00          $0.00
 29.     Family support                                        $0.00                  $0.00           $0.00           $0.00          $0.00
 30.     Other amounts owed to the debtor                      $0.00                  $0.00           $0.00           $0.00          $0.00
 31.     Insurance policies                                    $0.00                  $0.00           $0.00           $0.00          $0.00
 32.     Interest in property from                             $0.00                  $0.00           $0.00           $0.00          $0.00
         deceased
 33.     Claims against third parties                          $0.00                  $0.00           $0.00           $0.00          $0.00
 34.     Other claims                                          $0.00                  $0.00           $0.00           $0.00          $0.00
 35.     Other financial asset                                 $0.00                  $0.00           $0.00           $0.00          $0.00
 38.     Accounts receivable                                   $0.00                  $0.00           $0.00           $0.00          $0.00
 39.     Office equipment, furnishings,                        $0.00                  $0.00           $0.00           $0.00          $0.00
         and supplies
 40.     Machinery, fixtures and                               $0.00                  $0.00           $0.00           $0.00          $0.00
         equipment
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                                                                      COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                 MCALLEN DIVISION

IN RE:   Valle Jr, Pablo                                                            CASE NO

                                                                                    CHAPTER       Chapter7

                                              SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                        Continuation Sheet #1


Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                            Scheme Selected: Federal
                                                             Gross                    Total                          Total Amount    Total Amount
 No.     Category                                    Property Value           Encumbrances          Total Equity           Exempt     Non-Exempt
  41.     Inventory                                             $0.00                     $0.00              $0.00           $0.00           $0.00
  42.    Interests in partnerships or joint                     $0.00                     $0.00              $0.00           $0.00           $0.00
         ventures
  43.     Customer lists                                        $0.00                     $0.00              $0.00           $0.00           $0.00
  44.     Other businessrelated property                        $0.00                     $0.00              $0.00           $0.00           $0.00


  47.     Farm animals                                          $0.00                     $0.00              $0.00           $0.00           $0.00
  48.     Crops                                                 $0.00                     $0.00              $0.00           $0.00           $0.00
  49.     Equipment                                             $0.00                     $0.00              $0.00           $0.00           $0.00
  50.     Supplies                                              $0.00                     $0.00              $0.00           $0.00           $0.00
  51.     Other farm or fishing related                         $0.00                     $0.00              $0.00           $0.00           $0.00
          property
  53.     Other Assets                                          $0.00                     $0.00              $0.00           $0.00           $0.00

                  TOTALS:                                     $670.00                     $0.00           $670.00          $670.00           $0.00
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                                                                       COURT
                                                               SOUTHERN DISTRICT OF TEXAS
                                                                   MCALLEN DIVISION

IN RE:    Valle Jr, Pablo                                                              CASE NO

                                                                                       CHAPTER           Chapter7

                                               SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                         Continuation Sheet #2


Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes of this analysis. The
below listed items are to be returned to the lienholder
 Property Description                                                                                    Market Value                  Lien                   Equity
  Real Property
 (None)
  Personal Property
 (None)
                                TOTALS:                                                                         $0.00                  $0.00                    $0.00


Non-exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

 Property Description                                                     Market Value           Lien               Equity                     Non-Exempt Amount
  Real Property
 (None)
  Personal Property
                            TOTALS:                                              $670.00         $0.00          $670.00                                         $0.00



                                                                  Summary
                  A. Gross Property Value (not including surrendered property)                                               $670.00
                  B. Gross Property Value of Surrendered Property                                                              $0.00
                  C. Total Gross Property Value (A+B)                                                                        $670.00
                  D. Gross Amount of Encumbrances (not including surrendered property)                                         $0.00
                  E. Gross Amount of Encumbrances on Surrendered Property                                                      $0.00
                  F. Total Gross Encumbrances (D+E)                                                                            $0.00
                  G. Total Equity (not including surrendered property) / (A-D)                                               $670.00
                  H. Total Equity in surrendered items (B-E)                                                                   $0.00
                  I. Total Equity (C-F)                                                                                      $670.00
                  J. Total Exemptions Claimed (Wild Card Used: $350.00, Available: $12,750.00)                               $670.00
                  K. Total Non-Exempt Property Remaining (G-J)                                                                 $0.00
                                  Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 22 of 81
 Fill in this information to identify your case:

  Debtor 1                       Pablo                                  Valle Jr
                                 First Name         Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name         Middle Name        Last Name

  United States Bankruptcy Court for the:                         Southern District of Texas

  Case number                                                                                                                                ❑   Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ✔ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ❑
   ❑Yes. Fill in all of the information below.
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A               Column B              Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, Amount of claim        Value of              Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the      collateral that       portion
                                                                                                                      value of collateral.   supports this         If any
                                                                                                                                             claim
2.1                                                      Describe the property that secures the claim:
      Creditor's Name


      Number            Street
                                                         As of the date you file, the claim is: Check all that apply.

      City                            State   ZIP Code   ❑Contigent
      Who owes the debt? Check one.                      ❑Unlquidated
      ❑Debtor 1 only                                     ❑Disputed
      ❑Debtor 2 only                                     Nature of lien. Check all that apply.
      ❑Debtor 1 and Debtor 2 only                        ❑An agreement you made (such as mortgage or
      ❑At least one of the debtors and another              secured car loan)

      ❑Check if this claim relates to a                  ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt                                  ❑Judgment lien from a lawsuit
      Date debt was incurred                             ❑Other (including a right to offset)
                                                         Last 4 digits of account number

       Add the dollar value of your entries in Column A on this page. Write that number here:                                        $0.00




Official Form 106D                                       Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
 Debtor 1                PabloCase        18-70319 Document
                                                         Valle1
                                                              Jr Filed in TXSB on 08/24/18
                                                                                         CasePage
                                                                                             number (if23  of 81
                                                                                                        known)
                         First Name            Middle Name             Last Name


                                                                                                                        Column A               Column B              Column C
                Additional Page                                                                                         Amount of claim        Value of              Unsecured
  Part 1:
                After listing any entries on this page, number them beginning                                           Do not deduct the      collateral that       portion
                with 2.3, followed by 2.4, and so forth.                                                                value of collateral.   supports this         If any
                                                                                                                                               claim


 2.2                                                     Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                         As of the date you file, the claim is: Check all that apply.

       City                           State   ZIP Code   ❑Contigent
       Who owes the debt? Check one.                     ❑Unlquidated
       ❑Debtor 1 only                                    ❑Disputed
       ❑Debtor 2 only                                    Nature of lien. Check all that apply.
       ❑Debtor 1 and Debtor 2 only                       ❑An agreement you made (such as mortgage or
       ❑At least one of the debtors and another              secured car loan)

       ❑Check if this claim relates to a                 ❑Statutory lien (such as tax lien, mechanic's lien)
          community debt                                 ❑Judgment lien from a lawsuit
       Date debt was incurred                            ❑Other (including a right to offset)
                                                         Last 4 digits of account number


       Add the dollar value of your entries in Column A on this page. Write that number here:                                          $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                            $0.00
       here:




Official Form 106D                              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 2
                              Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 24 of 81
 Fill in this information to identify your case:

  Debtor 1                   Pablo                                     Valle Jr
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 18
 Debtor 1              PabloCase       18-70319 Document
                                                      Valle1
                                                           Jr Filed in TXSB on 08/24/18   Page 25 of 81
                                                                                      Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Action Revenue Recovery                                                   Last 4 digits of account number 9824                                                      $30.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          03/01/2016
        910 Bres Ave                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Monroe, LA 71201
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Collecting for Renaissance Medical Imaging

        ❑ Yes
4.2     Action Revenue Recovery                                                   Last 4 digits of account number 9290                                                      $30.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          04/01/2016
        910 Bres Ave                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Monroe, LA 71201
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Collecting for Renaissance Medical Imaging

        ❑ Yes
4.3     Atlas Credit Co, Inc                                                      Last 4 digits of account number 2002                                                     $263.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          10/01/2017
        1414 Dallas                                                               As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Mcallen, TX 78501
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Loan

        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 2 of 18
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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.4     Avante                                                                 Last 4 digits of account number 2303                                        $1,020.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          05/08/2018
        3600 South Gessner
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Houston, TX 77063
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Charge account

       ❑      Yes
4.5     Best Buy                                                               Last 4 digits of account number 9716                                        $2,000.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        P O Box 30253
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Salt Lake City, UT 84130                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                   divorce that you did not report as priority claims

       ❑                                                                       ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Credit Card
       ❑      Yes
4.6     Bf F Mca Llc                                                           Last 4 digits of account number 6993                                             $321.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          11/02/2017
        1209 Erie Street
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mcallen, TX 78501
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Credit Card

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 3 of 18
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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.7     C&G Loan Company                                                                                                                                        $450.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        1521 Dallas Ave.
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Mcallen, TX 78504                                                      ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Credit Card
       ❑      Yes
4.8     City Finance                                                           Last 4 digits of account number 7413                                             $244.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          10/03/2017
        417 S. Broadway St.
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        McAllen, TX 78501
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan

       ❑      Yes
4.9     Covington Credit                                                       Last 4 digits of account number 6214                                             $434.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          10/01/2017
        1201 Chicago Ave Ste 10
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mcallen, TX 78501
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 4 of 18
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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.10    Credit Management LP                                                   Last 4 digits of account number 7355                                             $216.96
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        4200 International Parkway
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Carrollton, TX 75007                                                   ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                   divorce that you did not report as priority claims

       ❑                                                                       ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Collecting for Time Warner Cable
       ❑      Yes
4.11    Credit Systems International, Inc                                      Last 4 digits of account number 3460                                             $112.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          04/01/2012
        1277 Country Club Ln
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Fort Worth, TX 76112
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Collecting for Green Mountain Energy Co.

       ❑      Yes
4.12    Credit, Continental                                                    Last 4 digits of account number 8060                                             $672.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        3700 W. Dove Suite 300
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        McAllen, TX 78504                                                      ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                   divorce that you did not report as priority claims

       ❑                                                                       ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 5 of 18
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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.13    Creditcentrl                                                           Last 4 digits of account number 0002                                             $592.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          10/13/2017
        1517 S Closner Blvd
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Edinburg, TX 78539
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan

       ❑      Yes
4.14    Creditcentrl                                                           Last 4 digits of account number 0001                                             $438.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          07/01/2017
        200 N. Mccoll Road
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mcallen, TX 78501
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan

       ❑      Yes
4.15    Economy Finance                                                        Last 4 digits of account number 5978                                             $268.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          11/07/2017
        419 S Broadway
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mcallen, TX 78501
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 6 of 18
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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.16    Enterprices, Megafu                                                                                                                                     $230.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        1296 S. La Brea Ave.
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Los Angeles, CA 90019                                                  ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   charge acct
       ❑      Yes
4.17    ERC/Enhanced Recovery Corp                                             Last 4 digits of account number 0250                                             $492.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          01/01/2014
        8014 Bayberry Rd
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Jacksonville, FL 32256
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Collecting for TMobile

       ❑      Yes
4.18    Famsa Inc                                                              Last 4 digits of account number 3002                                             $426.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          11/01/2017
        Po Box 36929
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Houston, TX 77236
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Charge Account

       ❑      Yes




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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.19    Fingerhut                                                              Last 4 digits of account number 2200                                             $663.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          03/01/2017
        6250 Ridgewood Rd
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Saint Cloud, MN 56303
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Credit Card

       ❑      Yes
4.20    Gold Star Finance, Inc.                                                Last 4 digits of account number 7475                                             $634.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          09/01/2017
        1908 E. University Ste. C
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Edinburg, TX 78541
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan

       ❑      Yes
4.21    Hermanos Loans                                                         Last 4 digits of account number 48-5                                             $408.57
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          01/01/2018
        P O Box 1209
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mcallen, TX 78505
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   loan

       ❑      Yes




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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.22    Hidalgo County Loan Co.                                                Last 4 digits of account number 69-6                                        $1,377.21
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          01/05/2018
        7085 Closner Blvd.
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Edinburg, TX 78539
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   loan

       ❑      Yes
4.23    Housing Authority of Austin Texas                                                                                                                       $359.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        1124 S IH 35 Frontage Rd
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Austin, TX 78704                                                       ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   eviction
       ❑      Yes
4.24    I C System Inc                                                         Last 4 digits of account number 4001                                             $601.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          07/01/2014
        Po Box 64378
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Saint Paul, MN 55164
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Collecting for McAllen Heart Clinic

       ❑      Yes




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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.25    Keystone Rent A Kar                                                                                                                                $2,057.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        11940 Firestone Blvd.
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Norwalk, CA 90650                                                      ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   damages
       ❑      Yes
4.26    Lacks Valley Stores Lt                                                 Last 4 digits of account number 7583                                        $2,375.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          07/01/2017
        1300 San Patricia Dr
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Pharr, TX 78577
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Charge Account

       ❑      Yes
4.27    Lacks Valley Stores Lt                                                 Last 4 digits of account number 0901                                        $2,019.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          01/01/2017
        1300 San Patricia Dr
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Pharr, TX 78577
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Charge Account

       ❑      Yes




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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.28    Lacks Valley Stores Lt                                                 Last 4 digits of account number 0245                                            $782.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          11/01/2017
        1300 San Patricia Dr
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Pharr, TX 78577
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Charge Account

       ❑      Yes
4.29    Midwest Recovery Systems                                               Last 4 digits of account number 7279                                        $1,767.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          02/09/2018
        514 Earth City Plaza
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Earth City, MO 63045
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Collecting for Hidalgo Emergency Med Assc.

       ❑      Yes
4.30    Midwest Recovery Systems                                               Last 4 digits of account number 0255                                            $522.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          03/01/2018
        514 Earth City Plaza
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Earth City, MO 63045
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Collecting for CashNet

       ❑      Yes




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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.31    National Credit Adjusters, LLC                                         Last 4 digits of account number 9302                                            $707.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          07/01/2017
        327 W 4th Ave
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Hutchinson, KS 67501
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Collecting for NCP Finance

       ❑      Yes
4.32    Noble Fin                                                              Last 4 digits of account number 7931                                            $103.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          10/31/2017
        25331 1h 10 West
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        San Antonio, TX 78257
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan

       ❑      Yes
4.33    Portfolio Recovery                                                     Last 4 digits of account number 4396                                            $648.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          04/01/2015
        120 Corporate Blvd Ste 1
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Norfolk, VA 23502
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Collecting for Synchrony Bank

       ❑      Yes




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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.34    Portfolio Recovery                                                     Last 4 digits of account number 5386                                            $496.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          11/01/2015
        120 Corporate Blvd Ste 1
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Norfolk, VA 23502
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Collecting for Comenity Bank

       ❑      Yes
4.35    Resurgent Capital Services                                             Last 4 digits of account number 0001                                        $1,250.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          12/01/2014
        Po Box 1269
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Greenville, SC 29602
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Collecting for Verizon Wireless

       ❑      Yes
4.36    Security Finance Corp                                                  Last 4 digits of account number 1741                                            $732.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          10/31/2017
        3700 W. Dove Ave. Ste.300
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mcallen, TX 78504
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 13 of 18
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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.37    Speedy Cash                                                                                                                                            $415.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        8847 Imperial Hwy
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Downey, CA 90242                                                       ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   pay day loan
       ❑      Yes
4.38    Sprint                                                                                                                                                 $600.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        PO Box 4191
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Carol Stream, IL 60197                                                 ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   cell phone
       ❑      Yes
4.39    Synchrony Bank/Walmart                                                 Last 4 digits of account number 6900                                            $466.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          05/01/2012
        Po Box 965024
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Credit Card

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 14 of 18
                              Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 38 of 81
 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.40    The Crossing                                                                                                                                       $1,154.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        9323 Manchaca Rd Austin
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Austin, TX 78748                                                       ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   eviction
       ❑      Yes
4.41    Toledo Finance                                                         Last 4 digits of account number 5616                                            $426.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          10/06/2017
        1213 Chicago St
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mcallen, TX 78501
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan

       ❑      Yes
4.42    TXU/Texas Energy                                                       Last 4 digits of account number 0642                                            $193.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          03/01/2014
        200 W John Carpenter Fwy
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Irving, TX 75039
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Utility Bill

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 15 of 18
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 Debtor 1              Pablo                                        Valle Jr                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.43    Wells Fargo Auto Finance                                               Last 4 digits of account number 9558                                            $300.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        Attn Bankruptcy
                                                                               As of the date you file, the claim is: Check all that apply.
                                                                               ❑
        Po Box 29704
       Number           Street                                                     Contingent

        Phoenix, AZ 85038-9704                                                 ❑   Unliquidated
       City                              State     ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                   divorce that you did not report as priority claims
                                                                               ❑
       ❑
                                                                                   Debts to pension or profit-sharing plans, and other
              At least one of the debtors and another                              similar debts
       ❑      Check if this claim is for a community debt                      ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Credit Card
       ✔
       ❑      No
       ❑      Yes
4.44    World Finance Corporation                                              Last 4 digits of account number 8801                                            $315.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          11/01/2017
        108 Frederick St.
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Greenville, SC 29607
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                               ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Loan

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 16 of 18
                             Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 40 of 81
 Debtor 1              Pablo                                       Valle Jr                                          Case number (if known)
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Marquez, Enrique V.                                           On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        P O Box 1209                                                  Line 4.22 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Mcallen, TX 78505
       City                                  State      ZIP Code      Last 4 digits of account number 69-6

        Susan B. Strickland, P.C                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        8014 Edgemoor                                                 Line 4.21 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Houston, TX 77036
       City                                  State      ZIP Code      Last 4 digits of account number 48-5

                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                page 17 of 18
                            Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 41 of 81
 Debtor 1              Pablo                                       Valle Jr                                    Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $29,608.74
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $29,608.74




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 18 of 18
                                 Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 42 of 81
 Fill in this information to identify your case:

     Debtor 1                   Pablo                                   Valle Jr
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Southern District of Texas

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1                                                                                              Apartment Lease
        Orchid Place Apartments                                                                  Contract to be ASSUMED
        Name
        4117 N.25th Lane
        Number      Street
        Mcallen, TX 78504
        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code


Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                                  Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 43 of 81
 Fill in this information to identify your case:

  Debtor 1                        Pablo                                       Valle Jr
                                 First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                                Southern District of Texas

  Case number                                                                                                                                ❑     Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                        . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt
                                                                                                                 Check all schedules that apply:
3.1                                                                                                              ❑Schedule D, line
      Name
                                                                                                                 ❑Schedule E/F, line
      Number          Street                                                                                     ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                                Schedule H: Your Codebtors                                                             page 1 of 1
                              Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 44 of 81
 Fill in this information to identify your case:

  Debtor 1                   Pablo                                    Valle Jr
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                        Southern District of Texas                                      ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                          Debtor 2 or non-filing spouse

                                                                           ❑Employed ❑
                                                                                     ✔ Not Employed                            ❑Employed ❑Not Employed
     If you have more than one job,            Employment status
     attach a separate page with
     information about additional
     employers.
                                               Occupation
     Include part time, seasonal, or
     self-employed work.                       Employer's name
                                                                            Number Street                                      Number Street
     Occupation may include student
                                               Employer's address
     or homemaker, if it applies.




                                                                            City                     State   Zip Code          City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.                 $0.00                        $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +             $0.00       +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.                 $0.00                        $0.00




Official Form 106I                                                           Schedule I: Your Income                                                                   page 1
 Debtor 1                  PabloCase              18-70319 Document
                                                                 Valle1
                                                                      Jr Filed in TXSB on 08/24/18
                                                                                                 CasePage
                                                                                                     number (if45  of 81
                                                                                                                known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.                 $0.00                    $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.                $0.00                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +             $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                 $0.00                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.                 $0.00                    $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.             $1,147.00                   $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify: SNAP Food Stamp Benefits                                                                          8f.              $192.00                    $0.00

      8g. Pension or retirement income                                                                                 8g.                $0.00                    $0.00

      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $1,339.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $1,339.00   +                $0.00        =       $1,339.00

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $1,339.00
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                              Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 46 of 81
 Fill in this information to identify your case:

  Debtor 1                   Pablo                                           Valle Jr
                             First Name              Middle Name            Last Name                                Check if this is:
  Debtor 2                                                                                                           ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                                ❑A supplement showing postpetition
                                                                                                                         chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                             Southern District of Texas

  Case number                                                                                                            MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ✔ No
                                                   ❑
     Do not list Debtor 1 and
     Debtor 2.
                                                   ❑Yes. Fill out this information for     Dependent's relationship to
                                                                                           Debtor 1 or Debtor 2
                                                                                                                                Dependent's
                                                                                                                                age
                                                                                                                                                    Does dependent live
                                                                                                                                                    with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                            ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                      Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                  4.                        $464.00


     If not included in line 4:
                                                                                                                                    4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                    4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                    4c.                         $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                    4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                      Schedule J: Your Expenses                                                         page 1
 Debtor 1              PabloCase        18-70319 Document
                                                       Valle1
                                                            Jr Filed in TXSB on 08/24/18
                                                                                       CasePage
                                                                                           number (if47  of 81
                                                                                                      known)
                       First Name             Middle Name               Last Name


                                                                                                                    Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                            5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                    6a.                    $100.00

       6b. Water, sewer, garbage collection                                                                  6b.                     $50.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                    6c.                     $75.00

       6d. Other. Specify:                                                                                   6d.                      $0.00

 7.    Food and housekeeping supplies                                                                        7.                     $310.00

 8.    Childcare and children’s education costs                                                              8.                       $0.00

 9.    Clothing, laundry, and dry cleaning                                                                   9.                      $50.00

 10. Personal care products and services                                                                     10.                     $45.00

 11.   Medical and dental expenses                                                                           11.                    $100.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                            12.                    $100.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                     $40.00

 14. Charitable contributions and religious donations                                                        14.                      $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                             15a.                     $0.00
       15a. Life insurance
                                                                                                             15b.                     $0.00
       15b. Health insurance
                                                                                                             15c.                     $0.00
       15c. Vehicle insurance
                                                                                                             15d.                     $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                              16.                      $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.

       17b. Car payments for Vehicle 2                                                                       17b.

       17c. Other. Specify:                                                                                  17c.

       17d. Other. Specify:                                                                                  17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                  18.                      $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                              19.                      $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.                     $0.00

       20b. Real estate taxes                                                                                20b.                     $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                     20c.                     $0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.                     $0.00
       20e. Homeowner’s association or condominium dues                                                      20e.                     $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                     page 2
 Debtor 1              PabloCase     18-70319 Document
                                                    Valle1
                                                         Jr Filed in TXSB on 08/24/18
                                                                                    CasePage
                                                                                        number (if48  of 81
                                                                                                   known)
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                        21.    +       $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                          22a.       $1,334.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  22b.           $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $1,334.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $1,339.00

      23b. Copy your monthly expenses from line 22c above.                                                  23b.   –   $1,334.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                            23c.           $5.00
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                           page 3
                                    Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 49 of 81
 Fill in this information to identify your case:

  Debtor 1                         Pablo                                                     Valle Jr
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                            Southern District of Texas

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                               $0.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                                  $345.00


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                            $345.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                                       $0.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $29,608.74


                                                                                                                                                                  Your total liabilities                       $29,608.74

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $1,339.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $1,334.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
                            Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 50 of 81
 Debtor 1             Pablo                                           Valle Jr                                            Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                            $192.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
                              Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 51 of 81
 Fill in this information to identify your case:

  Debtor 1                   Pablo                                    Valle Jr
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                           ❑    Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                 12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                        (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Pablo Valle Jr
        Pablo Valle Jr, Debtor 1, Debtor 1                              ✘
        Date 08/24/2018                                                      Date
                MM/ DD/ YYYY                                                        MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                              Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 52 of 81
 Fill in this information to identify your case:

  Debtor 1                   Pablo                                     Valle Jr
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                         ❑   Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                          Dates Debtor 2 lived
                                                              there                                                                         there


                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                          From
    Number      Street                                                                     Number     Street
                                                            To                                                                            To



    City                               State ZIP Code                                      City                      State ZIP Code




                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                          From
    Number      Street                                                                     Number     Street
                                                            To                                                                            To



    City                               State ZIP Code                                      City                      State ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
                              Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 53 of 81
Debtor 1            Pablo                                         Valle Jr                                            Case number (if known)
                    First Name           Middle Name              Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the       ❑ Wages, commissions,                                       ❑ Wages, commissions,
    date you filed for bankruptcy:                     bonuses, tips                                               bonuses, tips
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2017         )          bonuses, tips                                               bonuses, tips
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2016         )          bonuses, tips                                               bonuses, tips
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
                              Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 54 of 81
Debtor 1            Pablo                                            Valle Jr                                            Case number (if known)
                    First Name                Middle Name             Last Name


    From January 1 of current year until the            Social Security                          $9,176.00
    date you filed for bankruptcy:                      Benefits                                 $1,536.00
                                                        SNAP Food Stamp
                                                        Benefits




    For last calendar year:                             Social Security                         $13,764.00
    (January 1 to December 31, 2017            )        Benefits                                   $540.00
                                       YYYY             SNAP Food Stamp
                                                        Benefits




    For the calendar year before that:                  Social Security                         $13,764.00
    (January 1 to December 31, 2016            )        Benefits                                   $540.00
                                       YYYY             SNAP Food Stamp
                                                        Benefits




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
              individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

              ❑No. Go to line 7.
              ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                            payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


  ✔Yes.
  ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
            During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

            ✔No. Go to line 7.
            ❑
            ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                        payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                        this bankruptcy case.

                                                                Dates of           Total amount paid           Amount you still owe        Was this payment for…
                                                                payment

                                                                                                                                         ❑Mortgage
             Creditor's Name                                                                                                             ❑Car
                                                                                                                                         ❑Credit card
             Number         Street                                                                                                       ❑Loan repayment
                                                                                                                                         ❑Suppliers or vendors
                                                                                                                                         ❑Other
             City                     State        ZIP Code




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
                              Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 55 of 81
Debtor 1            Pablo                                             Valle Jr                                          Case number (if known)
                    First Name                   Middle Name              Last Name

                                                                  Dates of              Total amount paid        Amount you still owe      Was this payment for…
                                                                  payment

                                                                                                                                         ❑Mortgage
             Creditor's Name                                                                                                             ❑Car
                                                                                                                                         ❑Credit card
             Number         Street                                                                                                       ❑Loan repayment
                                                                                                                                         ❑Suppliers or vendors
                                                                                                                                         ❑Other
             City                        State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.
                                                               Dates of               Total amount paid   Amount you still owe   Reason for this payment
                                                               payment



    Insider's Name


    Number      Street




    City                         State      ZIP Code




    Insider's Name


    Number      Street




    City                         State      ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
                            Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 56 of 81
Debtor 1            Pablo                                          Valle Jr                                             Case number (if known)
                    First Name            Middle Name                Last Name

                                                          Dates of               Total amount paid     Amount you still owe         Reason for this payment
                                                          payment                                                                   Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Nature of the case                           Court or agency                                    Status of the case


                                                                                                                                                   ✔Pending
                                                    Breach of Contract
    Case title       Hidalgo County Loan Co.
                     vs. Valle Jr, Paul
                                                                                                Hidalgo County JP PCT 4 PL1                        ❑
                                                                                                                                                   ❑On appeal
                                                                                               Court Name

                                                                                                                                                   ❑Concluded
    Case number DC18-2265-J41                                                                   Att: Justice of the Peace
                                                                                                212 N 12th Ave
                                                                                               Number       Street
                                                                                                Edinburg, TX 78541-3504
                                                                                               City                         State      ZIP Code



                                                                                                                                                   ✔Pending
                                                    Breach of Contract
    Case title       Lack's Valley Stores, LTD
                     vs Paul Valle
                                                                                                Hidalgo County JP Pct 2 Place 2                    ❑
                                                                                                                                                   ❑On appeal
                                                                                               Court Name

                                                                                                                                                   ❑Concluded
    Case number SC18-0234-J22                                                                   Att: Justice of the Peace
                                                                                                300 W. Hall Acres Rd.
                                                                                               Number       Street
                                                                                                Pharr, TX 78577
                                                                                               City                         State      ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 5
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Debtor 1            Pablo                                     Valle Jr                                           Case number (if known)
                    First Name           Middle Name           Last Name

                                                 Nature of the case                       Court or agency                                 Status of the case


                                                                                                                                        ✔Pending
                                                 Breach of Contract
    Case title      Lack's Valley Stores, LTD
                    vs Paul Valle Jr
                                                                                         Hidalgo County JP Pct 2 Place 2                ❑
                                                                                                                                        ❑On appeal
                                                                                         Court Name

                                                                                                                                        ❑Concluded
    Case number SC18-0317-J22                                                            Att: Justice of the Peace
                                                                                         300 W. Hall Acres Rd.
                                                                                         Number       Street
                                                                                         Pharr, TX 78577
                                                                                         City                        State   ZIP Code



                                                                                                                                        ✔Pending
                                                 Breach of Contract
    Case title      Tiempo Finance Co. vs
                    Valle Jr, Paul
                                                                                         Hidalgo County JP PCT 4 PL1                    ❑
                                                                                                                                        ❑On appeal
                                                                                         Court Name

                                                                                                                                        ❑Concluded
    Case number DC18-2266-J41                                                            Att: Justice of the Peace
                                                                                         212 N 12th Ave
                                                                                         Number       Street
                                                                                         Edinburg, TX 78541-3504
                                                                                         City                        State   ZIP Code


                                                 Breach of Contract
    Case title      Megafu Enterprises Vs.
                    Valle Paul
                                                                                         LA County Municipal Court Civil Division       ❑Pending
                                                                                                                                        ❑On appeal
                                                                                         Court Name

    Case number 02M12040                                                                 110 N. Grand Ave.
                                                                                         Number       Street
                                                                                                                                        ✔Concluded
                                                                                                                                        ❑
                                                                                         Los Angeles, CA 90012
                                                                                         City                        State   ZIP Code


                                                 Breach of Contract
    Case title      Keystone Rent A Kar vs
                    Valle Paul Jr.
                                                                                         LA County Downey Courthouse                    ❑Pending
                                                                                                                                        ❑On appeal
                                                                                         Court Name

    Case number 02S01565                                                                 7500 East Impreial Highway
                                                                                         Number       Street
                                                                                                                                        ✔Concluded
                                                                                                                                        ❑
                                                                                         Downey, CA 90242
                                                                                         City                        State   ZIP Code


                                                 Breach of Contract
    Case title      Speedy Cash vs. Valle
                    Paul Jr.
                                                                                         LA County Compton Courthouse                   ❑Pending
                                                                                                                                        ❑On appeal
                                                                                         Court Name

    Case number 02S01681                                                                 200 West Compton Blvd
                                                                                         Number       Street
                                                                                                                                        ✔Concluded
                                                                                                                                        ❑
                                                                                         Compton, CA 90220
                                                                                         City                        State   ZIP Code


                                                 Breach of Contract
    Case title      Housing Authority of
                    Austin TX vs. Valle Paul
                                                                                         Travis County JP PCT4                          ❑Pending
                                                                                                                                        ❑On appeal
                                                                                         Court Name

    Case number J4JC100548                                                               4011 McKinney Falls Parkway Ste. 1200
                                                                                         Number       Street
                                                                                                                                        ✔Concluded
                                                                                                                                        ❑
                                                                                         Austin, TX 78744
                                                                                         City                        State   ZIP Code


                                                 Breach of Contract
    Case title      The Crossing vs. Paul
                    Valle
                                                                                         Travis County JP PCT3                          ❑Pending
                                                                                                                                        ❑On appeal
                                                                                         Court Name

    Case number 050080                                                                   8656-B West Hwy 71
                                                                                         Number       Street
                                                                                                                                        ✔Concluded
                                                                                                                                        ❑
                                                                                         Austin, TX 78735
                                                                                         City                        State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
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Debtor 1            Pablo                                          Valle Jr                                        Case number (if known)
                    First Name             Middle Name              Last Name

                                                      Nature of the case                      Court or agency                               Status of the case


                                                                                                                                          ✔Pending
                                                      Breach of Contract
    Case title        Hermanos Loans vs. Paul
                      Valle Jr.
                                                                                              Hidalgo County JP PCT2 PL1                  ❑
                                                                                                                                          ❑On appeal
                                                                                             Court Name

                                                                                                                                          ❑Concluded
    Case number SC18-0159-J21                                                                 300 West Hall Acres Suite F
                                                                                             Number       Street
                                                                                              Pharr, TX 78577
                                                                                             City                    State    ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.

    Creditor’s Name


    Number       Street                                             Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


    Creditor’s Name


    Number       Street                                             Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                            Describe the action the creditor took                       Date action was     Amount
                                                                                                                        taken
    Creditor’s Name


    Number       Street




                                                           Last 4 digits of account number: XXXX–
    City                         State     ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7
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Debtor 1            Pablo                                         Valle Jr                                         Case number (if known)
                    First Name             Middle Name             Last Name



  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per        Describe the gifts                                          Dates you gave       Value
     person                                                                                                            the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                           State   ZIP Code

    Person’s relationship to you

     Gifts with a total value of more than $600 per        Describe the gifts                                          Dates you gave       Value
     person                                                                                                            the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                           State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 8
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Debtor 1             Pablo                                        Valle Jr                                        Case number (if known)
                     First Name           Middle Name              Last Name

     Gifts or contributions to charities that     Describe what you contributed                                  Date you              Value
     total more than $600                                                                                        contributed



    Charity’s Name




    Number     Street



    City                     State   ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and         Describe any insurance coverage for the loss                    Date of your loss      Value of property lost
     how the loss occurred                      Include the amount that insurance has paid. List pending
                                                insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                  Description and value of any property transferred              Date payment or       Amount of payment
     Marcos D. Oliva, PC                                                                                         transfer was made
    Person Who Was Paid                          Attorney's Fee
                                                                                                                Aug 03, 2018                         $200.00
     223 W Nolana Ave
    Number     Street




     Mcallen, TX 78504-2500
    City                     State   ZIP Code
     attorney@oliva.law
    Email or website address


    Person Who Made the Payment, if Not You




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 9
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Debtor 1            Pablo                                      Valle Jr                                           Case number (if known)
                    First Name           Middle Name            Last Name

                                               Description and value of any property transferred                Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid


    Number     Street




    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of any property transferred                Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                    State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                    State   ZIP Code

    Person's relationship to you




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Debtor 1            Pablo                                       Valle Jr                                          Case number (if known)
                    First Name           Middle Name            Last Name

                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number      Street




    City                    State   ZIP Code

    Person's relationship to you



  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
    Name of trust                              Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Last 4 digits of account number          Type of account or        Date account was            Last balance
                                                                                         instrument                closed, sold, moved, or     before closing or
                                                                                                                   transferred                 transfer

    Name of Financial Institution
                                                XXXX–                                  ❑Checking
                                                                                       ❑Savings
    Number      Street
                                                                                       ❑Money market
                                                                                       ❑Brokerage
                                                                                       ❑Other
    City                    State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 11
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Debtor 1            Pablo                                      Valle Jr                                         Case number (if known)
                    First Name           Middle Name           Last Name

                                                Last 4 digits of account number          Type of account or      Date account was            Last balance
                                                                                         instrument              closed, sold, moved, or     before closing or
                                                                                                                 transferred                 transfer

    Name of Financial Institution
                                                XXXX–                                    ❑Checking
                                                                                         ❑Savings
    Number      Street
                                                                                         ❑Money market
                                                                                         ❑Brokerage
                                                                                         ❑Other
    City                    State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else had access to it?                     Describe the contents                        Do you still have
                                                                                                                                             it?

                                                                                                                                            ❑No
    Name of Financial Institution               Name
                                                                                                                                            ❑Yes

    Number      Street                          Number     Street



                                                City                  State   ZIP Code

    City                    State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else has or had access to it?              Describe the contents                        Do you still have
                                                                                                                                             it?

                                                                                                                                            ❑No
    Name of Storage Facility                    Name
                                                                                                                                            ❑Yes

    Number      Street                          Number     Street



                                                City                  State   ZIP Code

    City                    State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 12
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Debtor 1            Pablo                                          Valle Jr                                              Case number (if known)
                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                              Describe the property                            Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                        State   ZIP Code


    City                    State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                              Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                    State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 13
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Debtor 1             Pablo                                            Valle Jr                                             Case number (if known)
                     First Name             Middle Name               Last Name

                                                     Governmental unit                           Environmental law, if you know it                    Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                     State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Court or agency                             Nature of the case                                   Status of the case


    Case title
                                                    Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                      Describe the nature of the business                          Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:          –

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From                 To

    City                     State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 14
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Debtor 1            Pablo                                        Valle Jr                                        Case number (if known)
                    First Name           Middle Name             Last Name

                                                 Describe the nature of the business                     Employer Identification number
                                                                                                         Do not include Social Security number or ITIN.
    Name
                                                                                                          EIN:           –

    Number     Street
                                                 Name of accountant or bookkeeper                        Dates business existed

                                                                                                          From                   To

    City                    State   ZIP Code

                                                 Describe the nature of the business                     Employer Identification number
                                                                                                         Do not include Social Security number or ITIN.
    Name
                                                                                                          EIN:           –

    Number     Street
                                                 Name of accountant or bookkeeper                        Dates business existed

                                                                                                          From                   To

    City                    State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                 Date issued



    Name                                        MM / DD / YYYY



    Number     Street




    City                    State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 15
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 Debtor 1           Pablo                                       Valle Jr                                        Case number (if known)
                    First Name             Middle Name           Last Name

 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
  correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘                       /s/ Pablo Valle Jr                       ✘
        Signature of Pablo Valle Jr, Debtor 1                              Signature of


         Date 08/24/2018                                                   Date




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                      Attach the Bankruptcy Petition Preparer’s Notice,
    ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 16
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 Fill in this information to identify your case:

  Debtor 1                   Pablo                                    Valle Jr
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that secures a Did you claim the property as
                                                                            debt?                                                     exempt on Schedule C?




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1
 Debtor 1             PabloCase      18-70319 Document
                                                    Valle1
                                                         Jr Filed in TXSB on 08/24/18
                                                                                    CasePage
                                                                                        number (if69  of 81
                                                                                                   known)
                      First Name              Middle Name          Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:              Orchid Place Apartments                                                                              ❑ No
                                                                                                                                     ✔ Yes
                                                                                                                                     ❑
    Description of leased
    property:                   Apartment Lease

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                        /s/ Pablo Valle Jr                        ✘
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 08/24/2018                                                    Date
            MM/ DD/ YYYY                                                       MM/ DD/ YYYY




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                              page 2
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B2030 (Form 2030)(12/15)


                                                 United States Bankruptcy Court
                                                          Southern District of Texas
In re
Valle Jr, Pablo                                                                                                   Case No.
                                                                                                                  Chapter         7
Debtor(s)

                                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named
     debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed
     to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
     connection with the bankruptcy case is as follows:
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                       $2,200.00
          Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                          $200.00
          Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         $2,000.00

2.   The source of the compensation to be paid to me was:
          ✔
          ❑    Debtor                               ❑    Other (specify)

3.   The source of compensation to be paid to me is:
          ✔
          ❑    Debtor                               ❑    Other (specify)

4.   ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and
     ❑
     associates of my law firm.

     ❑ I have agreed to share the above-disclosed compensation with another person or persons who are not members or
     associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
     compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
   including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a
          petition in bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
          thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:



                                                                        CERTIFICATION
                          I certify that the foregoing is a complete statement of any agreement or
                       arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                       proceeding.

                       08/24/2018                                      /s/ Marcos D Oliva
                       Date                                                Signature of Attorney

                                                                       Marcos D. Oliva, PC
                                                                          Name of law firm
                            Case 18-70319 Document 1 Filed in TXSB on 08/24/18 Page 71 of 81
                 Notice Required by 11 U.S.C. § 342(b) for
                 Individuals Filing for Bankruptcy (Form 2010)


                   This notice is for you if:                                            Chapter 7: Liquidation

                         You are an individual filing for                                                    $245      filing fee
                         bankruptcy, and                                                                         $75   administrative fee
                                                                                                    +            $15   trustee surcharge
                         Your debts are primarily consumer
                         debts.                                                                              $335      total fee
                         Consumer debts are defined in 11 U.S.C.
                         § 101(8) as “incurred by an individual                         Chapter 7 is for individuals who have
                         primarily for a personal, family, or                           financial difficulty preventing them from
                         household purpose.”                                            paying their debts and who are willing to
                                                                                        allow their non- exempt property to be used
                                                                                        to pay their creditors. The primary purpose
                                                                                        of filing under chapter 7 is to have your
                                                                                        debts discharged. The bankruptcy discharge
                 The types of bankruptcy that are                                       relieves you after bankruptcy from having to
                 available to individuals                                               pay many of your pre-bankruptcy debts.
                                                                                        Exceptions exist for particular debts, and
                 Individuals who meet the qualifications may file                       liens on property may still be enforced after
                 under one of four different chapters of the                            discharge. For example, a creditor may
                 Bankruptcy Code:                                                       have the right to foreclose a home
                                                                                        mortgage or repossess an automobile.
                         Chapter 7 — Liquidation
                                                                                        However, if the court finds that you have
                         Chapter 11— Reorganization                                     committed certain kinds of improper conduct
                                                                                        described in the Bankruptcy Code, the court
                         Chapter 12— Voluntary repayment plan                           may deny your discharge.
                                     for family farmers or
                                     fishermen                                           You should know that even if you file chapter 7
                                                                                        and you receive a discharge, some debts are
                         Chapter 13— Voluntary repayment plan                           not discharged under the law. Therefore, you
                                     for individuals with regular                       may still be responsible to pay:
                                     income
                                                                                                 most taxes;
                You should have an attorney review your                                          most student loans;
                decision to file for bankruptcy and the choice                                   most domestic support and property
                of                                                                               settlement obligations;
                 chapter.




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                                                                                         your income is more than the median income for
                         most fines, penalties, forfeitures, and
                                                                                         your state of residence and family size,
                         criminal restitution obligations; and
                                                                                        depending on the results of the Means Test, the
                         certain debts that are not listed in your
                                                                                        U.S. trustee, bankruptcy administrator, or
                         bankruptcy papers.                                             creditors can file a motion to dismiss your case
                 You may also be required to pay debts arising                          under § 707(b) of the Bankruptcy Code. If a
                 from:                                                                  motion is filed, the court will decide if your case
                                                                                        should be dismissed. To avoid dismissal, you
                         fraud or theft;
                                                                                        may choose to proceed under another chapter of
                         fraud or defalcation while acting in breach
                                                                                        the Bankruptcy Code.
                         of fiduciary capacity;
                         intentional injuries that you inflicted; and
                                                                                        If you are an individual filing for chapter 7
                         death or personal injury caused by
                                                                                        bankruptcy, the trustee may sell your property
                         operating a motor vehicle, vessel, or
                                                                                        to pay your debts, subject to your right to
                         aircraft while intoxicated from alcohol or
                                                                                        exempt the property or a portion of the proceeds
                         drugs.
                                                                                        from the sale of the property. The property, and
                                                                                        the proceeds from property that your
                 If your debts are primarily consumer debts, the
                                                                                        bankruptcy trustee sells or liquidates that you
                 court can dismiss your chapter 7 case if it finds
                                                                                        are entitled to, is called exempt property.
                 that you have enough income to repay creditors
                                                                                        Exemptions may enable you to keep your home,
                 a certain amount. You must file Chapter 7
                                                                                        a car, clothing, and household items or to
                 Statement of Your Current Monthly Income
                                                                                        receive some of the proceeds if the property is
                 (Official Form 122A–1) if you are an individual
                                                                                        sold.
                 filing for bankruptcy under chapter 7. This form
                 will determine your current monthly income and
                                                                                        Exemptions are not automatic. To exempt
                 compare whether your income is more than the
                                                                                        property, you must list it on Schedule C: The
                 median income that applies in your state.
                                                                                        Property You Claim as Exempt (Official Form
                                                                                        106C). If you do not list the property, the
                 If your income is not above the median for your
                                                                                        trustee may sell it and pay all of the proceeds to
                 state, you will not have to complete the other
                                                                                        your creditors.
                 chapter 7 form, the Chapter 7 Means Test
                 Calculation (Official Form 122A–2).

                                                                                         Chapter 11: Reorganization
                 If your income is above the median for your
                 state, you must file a second form —the                                                    $1,167     filing fee
                 Chapter 7 Means Test Calculation (Official Form
                                                                                                   +            $550   administrative fee
                 122A–2). The calculations on the form—
                 sometimes called the Means Test —deduct from                                               $1,717     total fee
                 your income living expenses and payments on
                 certain debts to determine any amount available                        Chapter 11 is often used for reorganizing a
                 to pay unsecured creditors. If                                         business, but is also available to individuals. The
                                                                                        provisions of chapter 11 are too complicated to
                                                                                        summarize briefly.




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                   Read These Important Warnings

                       Because bankruptcy can have serious long-term financial and legal consequences, including
                       loss of your property, you should hire an attorney and carefully consider all of your options
                       before you file. Only an attorney can give you legal advice about what can happen as a result
                       of filing for bankruptcy and what your options are. If you do file for bankruptcy, an attorney
                       can help you fill out the forms properly and protect you, your family, your home, and your
                       possessions.

                       Although the law allows you to represent yourself in bankruptcy court, you should
                       understand that many people find it difficult to represent themselves successfully. The rules
                       are technical, and a mistake or inaction may harm you. If you file without an attorney, you are
                       still responsible for knowing and following all of the legal requirements.

                       You should not file for bankruptcy if you are not eligible to file or if you do not intend to file
                       the necessary documents.

                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud
                       in your bankruptcy case. Making a false statement, concealing property, or obtaining money
                       or property by fraud in connection with a bankruptcy case can result in fines up to $250,000,
                       or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                        Under chapter 13, you must file with the court a
                  Chapter 12: Repayment plan for
                  family                                                                plan to repay your creditors all or part of the
                             farmers or fishermen                                       money that you owe them, usually using your
                                                                                        future earnings. If the court approves your plan,
                                      $200     filing fee                               the court will allow you to repay your debts, as
                             +          $75    administrative fee                       adjusted by the plan, within 3 years or 5 years,
                                                                                        depending on your income and other factors.
                                      $275     total fee
                                                                                        After you make all the payments under your
                 Similar to chapter 13, chapter 12 permits family                       plan, many of your debts are discharged. The
                 farmers and fishermen to repay their debts over                        debts that are not discharged and that you may
                 a period of time using future earnings and to                          still be responsible to pay include:
                 discharge some debts that are not paid.
                                                                                                 domestic support obligations,
                                                                                                 most student loans,
                  Chapter 13: Repayment plan for                                                 certain taxes,
                             individuals with regular                                            debts for fraud or theft,
                             income                                                              debts for fraud or defalcation while acting
                                                                                                 in a fiduciary capacity,
                                      $235     filing fee                                        most criminal fines and restitution
                             +          $75    administrative fee                                obligations,
                                                                                                 certain debts that are not listed in your
                                      $310     total fee
                                                                                                 bankruptcy papers,
                                                                                                 certain debts for acts that caused death
                 Chapter 13 is for individuals who have regular
                                                                                                 or
                 income and would like to pay all or part of their
                                                                                                 personal injury, and
                 debts in installments over a period of time and
                                                                                                 certain long-term secured debts
                 to discharge some debts that are not paid. You
                 are eligible for chapter 13 only if your debts are
                 not more than certain dollar amounts set forth in
                 11 U.S.C. § 109.




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                   Warning: File Your Forms on Time                                              A married couple may file a bankruptcy
                                                                                                 case together—called ajoint case. If you
                   Section 521(a)(1) of the Bankruptcy Code                                      file a joint case and each spouse lists the
                   requires that you promptly file detailed                                      same mailing address on the bankruptcy
                   information about your creditors, assets,                                     petition, the bankruptcy court generally will
                   liabilities, income, expenses and general                                     mail you and your spouse one copy of
                   financial condition. The court may dismiss                                    each notice, unless you file a statement
                   your bankruptcy case if you do not file this                                  with the court asking that each spouse
                   information within the deadlines set by the                                   receive separate copies.
                   Bankruptcy Code, the Bankruptcy Rules,
                   and the local rules of the court.
                                                                                                 Understand which services you
                                                                                                 could receive from credit
                   For more information about the documents                                      counseling agencies
                   and their deadlines, go to:
                   http://www.uscourts.gov/bkforms                                               The law generally requires that you receive
                   /bankruptcy_form                                                              a credit counseling briefing from an
                   s.html#procedure.                                                             approved credit counseling agency. 11
                                                                                                 U.S.C. § 109(h). If you are filing a joint
                                                                                                 case, both spouses must receive the
                 Bankruptcy crimes have serious                                                  briefing. With limited exceptions, you must
                 consequences
                                                                                                 receive it within the 180 days before you
                         If you knowingly and fraudulently                                       file your bankruptcy petition. This briefing
                         conceal                                                                 is usually conducted by telephone or on
                         assets or make a false oath or statement                                the Internet.
                         under penalty of perjury—either orally or
                         in writing—in connection with a                                         In addition, after filing a bankruptcy case,
                         bankruptcy case, you may be fined,                                      you generally must complete a financial
                         imprisoned, or both.                                                    management instructional course before
                         All information you supply in connection                                you can receive a discharge. If you are
                         with a bankruptcy case is subject to                                    filing a joint case, both spouses must
                         examination by the Attorney General                                     complete the course.
                         acting
                         through the Office of the U.S. Trustee,                                 You can obtain the list of agencies
                         the                                                                     approved to provide both the briefing and
                         Office of the U.S. Attorney, and other                                  the instructional course from:
                         offices and employees of the U.S.                                       http://justice.gov/ust/eo/hapcpa
                         Department of Justice.                                                  /ccde/cc_approved.html.


                 Make sure the court has your                                                    In Alabama and North Carolina, go to:
                 mailing address                                                                 http://www.uscourts.gov/FederalCourts
                                                                                                 /Bankruptcy/
                 The bankruptcy court sends notices to the                                       BankruptcyResources/ApprovedCredit
                 mailing address you list on Voluntary Petition for                              AndDebtCounselors.aspx.
                 Individuals Filing for Bankruptcy(Official Form
                 101). To ensure that you receive information                                    If you do not have access to a computer,
                 about your case, Bankruptcy Rule 4002 requires                                  the clerk of the bankruptcy court may be
                 that you notify the court of any changes in your                                able to help you obtain the list.
                 address.


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                                                             SOUTHERN DISTRICT OF TEXAS
                                                                 MCALLEN DIVISION

IN RE: Valle Jr, Pablo                                                                       CASE NO

                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       08/24/2018              Signature                                       /s/ Pablo Valle Jr
                                                                                 Pablo Valle Jr, Debtor
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                        Action Revenue Recovery
                        910 Bres Ave
                        Monroe, LA 71201




                        Atlas Credit Co, Inc
                        1414 Dallas
                        Mcallen, TX 78501




                        Avante
                        3600 South Gessner
                        Houston, TX 77063




                        Best Buy
                        P O Box 30253
                        Salt Lake City, UT 84130




                        Bf F Mca Llc
                        1209 Erie Street
                        Mcallen, TX 78501




                        C&G Loan Company
                        1521 Dallas Ave.
                        Mcallen, TX 78504




                        City Finance
                        417 S. Broadway St.
                        McAllen, TX 78501




                        Covington Credit
                        1201 Chicago Ave Ste 10
                        Mcallen, TX 78501
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                        Credit Management LP
                        4200 International Parkway
                        Carrollton, TX 75007




                        Credit Systems International,
                        Inc
                        1277 Country Club Ln
                        Fort Worth, TX 76112



                        Continental Credit
                        3700 W. Dove Suite 300
                        McAllen, TX 78504




                        Creditcentrl
                        1517 S Closner Blvd
                        Edinburg, TX 78539




                        Creditcentrl
                        200 N. Mccoll Road
                        Mcallen, TX 78501




                        Economy Finance
                        419 S Broadway
                        Mcallen, TX 78501




                        Megafu Enterprices
                        1296 S. La Brea Ave.
                        Los Angeles, CA 90019




                        ERC/Enhanced Recovery Corp
                        8014 Bayberry Rd
                        Jacksonville, FL 32256
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                        Famsa Inc
                        Po Box 36929
                        Houston, TX 77236




                        Fingerhut
                        6250 Ridgewood Rd
                        Saint Cloud, MN 56303




                        Gold Star Finance, Inc.
                        1908 E. University Ste. C
                        Edinburg, TX 78541




                        Hermanos Loans
                        P O Box 1209
                        Mcallen, TX 78505




                        Hidalgo County Loan Co.
                        7085 Closner Blvd.
                        Edinburg, TX 78539




                        Housing Authority of Austin
                        Texas
                        1124 S IH 35 Frontage Rd
                        Austin, TX 78704



                        I C System Inc
                        Po Box 64378
                        Saint Paul, MN 55164




                        Keystone Rent A Kar
                        11940 Firestone Blvd.
                        Norwalk, CA 90650
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                        Lacks Valley Stores Lt
                        1300 San Patricia Dr
                        Pharr, TX 78577




                        Enrique V. Marquez
                        P O Box 1209
                        Mcallen, TX 78505




                        Midwest Recovery Systems
                        514 Earth City Plaza
                        Earth City, MO 63045




                        National Credit Adjusters, LLC
                        327 W 4th Ave
                        Hutchinson, KS 67501




                        Noble Fin
                        25331 1h 10 West
                        San Antonio, TX 78257




                        Orchid Place Apartments
                        4117 N.25th Lane
                        Mcallen, TX 78504




                        Portfolio Recovery
                        120 Corporate Blvd Ste 1
                        Norfolk, VA 23502




                        Resurgent Capital Services
                        Po Box 1269
                        Greenville, SC 29602
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                        Security Finance Corp
                        3700 W. Dove Ave. Ste.300
                        Mcallen, TX 78504




                        Speedy Cash
                        8847 Imperial Hwy
                        Downey, CA 90242




                        Sprint
                        PO Box 4191
                        Carol Stream, IL 60197




                        Susan B. Strickland, P.C
                        8014 Edgemoor
                        Houston, TX 77036




                        Synchrony Bank/Walmart
                        Po Box 965024
                        Orlando, FL 32896




                        The Crossing
                        9323 Manchaca Rd Austin
                        Austin, TX 78748




                        Toledo Finance
                        1213 Chicago St
                        Mcallen, TX 78501




                        TXU/Texas Energy
                        200 W John Carpenter Fwy
                        Irving, TX 75039
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                        Wells Fargo Auto Finance
                        Attn Bankruptcy
                        Po Box 29704
                        Phoenix, AZ 85038-9704



                        World Finance Corporation
                        108 Frederick St.
                        Greenville, SC 29607
